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Exhibit M
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2012 WL 1964507
Only the Westlaw citation is currently available.
NOT FOR PUBLICATION
United States District Court, D. New Jersey.

Abeer TUTANJI, Plaintiff,
v.
BANK OF AMERICA, Defendant.

Civil Action No. 12-887 (JLL).
|
May 31, 2012.

Attorneys and Law Firms
Aymen A. Aboushi, New York, NY, for Plaintiff.

Aaron M. Bender, Reed Smith, Princeton, NJ, for Defendant.

OPINION
JOSE L. LINARES, District Judge.

*1 This matter comes before the Court by way of Defendant

Bank of America (“Defendant”)'s unopposed motion to
dismiss Plaintiff Abeer Tutanji (“Plaintiff’)'s civil complaint
(*Complaint”) for failure to state a claim upon which
relief may be granted pursuant to Fed.R.Civ.P. 12(b}(6).
[Docket Entry No. 10). The Court has considered Defendant's
submissions in support of the instant motion, and decides
the motion on the papers pursuant to Fed.R.Civ,P, 78. For
the reasons stated herein, Defendant's Motion to Dismiss
Plaintiff's Complaint is granted.

I, BACKGROUND

Plaintiff is a resident of Woodside Park, New Jersey, and
maintains a mortgage on her home. (Compl., ff] 4, 7).
Plaintiff makes a series of allegations against Defendant
regarding its purported debt collection practices despite, on
her account, being at no point late or otherwise delinquent
on her mortgage with Defendant. (fd 22). Plaintiff first
claims that Defendant “telephoned [her] during all hours
of the day and night,” “communicated with [her] husband
regarding the debt, without authorization or permission to
do so,” and “failed to inform [her] that the calls were from
a debt collector, and that any information shared would be

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used for that purpose.” (/4.49 11-13). In addition to the calls,
Plaintiff alleges that “numerous threatening letters” were sent
“in an attempt to collect the debt,” and that the “letters failed
to inform [her] that the communications were from a debt
collector,” or “that any information shared would be used
for that purpose.” (/@. 99 14-15). Plaintiff also claims that
Defendant did not send her a validation notice as required by
the Fair Debt Collection Practices Act (“FDCPA”). (fd J 14).

Plaintiff additionally asserts claims relating to her
representation by counsel and Defendant's false reporting.
First, Plaintiff alleges that Defendant knew she was
represetited by counsel in connection with “the relevant
debt,” and despite this knowledge, “blatantly continued to
contact and harass” her. (/¢.f] 17-18). Even after Plaintiff's
attorney contacted Defendant and informed Defendant that
Plaintiff was represented by counsel, Plaintiff contends,
“Defendant continued to contact and harass Plaintiff about
the debt.” (/44 19). Second, Plaintiff states that Defendant
told her that she owed debt for escrow payments, which
was a false representation since Plaintiff owed no debts
pursuant to any agreement or operation of law. (ld ff] 20-
21). Defendant further purportedly falsely reported to the
Credit Reporting Bureaus that Plaintiff was delinquent in her
payments, causing Plaintiff to be denied credit and to suffer
actual damages, consternation, anxiety and distress. (/d4. 9
24-26).

Plaintiff filed her four-count Complaint against Defendant
on February 10, 2012. [Docket Entry No. 1]. Plaintiff's
first Count alleges violations of the FDCPA pursuant but

not limited to the following provisions: Fa; U.S.C, §
1692c(a)(1) (calling at unreasonable times in an effort to

harass Plaintiff); Fis U.S.C. § 1692c{a)(2} (contacting
Plaintiff despite knowing her to be represented by counsel);

Pais U.S.C. § 1692c(b) (communicating with Plaintiffs
husband regarding her debt without Plaintiff's permission or

authority); Fis U.S.C. § 1692d(5)} (contacting Plaintiff in

an effort to harass and abuse her); Fa 15 U.S.C. § 1692d(6)
(concealing Defendant's identity when dealing with Plaintiff);

Ps U.S.C. § 1692¢(10) (misrepresenting that Plaintiff
owed a debt she did not owe} Pais ULS.C. § 1692e(15)

(failing to provide a validation notice to Plaintiff); and a 15
U.S.C. § 16922 (failing to validate the debt within the
requisite time period mandated by the statute}. (Compl., 4]
28-29). Count Two of Plaintiff's Complaint asserts a Fair
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Credit Reporting Act (*“FCRA”) claim for falsely reporting
that Plaintiff owed a debt and was delinquent in paying that
debt to various credit reporting agencies. (/d 4] 32). Count
Three asserts that Defendant misrepresented the terms of the
loan to her in violation of the New Jersey Consumer Fraud Act
(*NJICFA”} when Defendant induced Plaintiff to take out the
subject mortgage without telling her that an escrow account
would be imposed on her. (/d¢ J¥ 39-40), Finally, Count Four
alleges that Defendant's conduct constituted negligence and a
breach of the duty of good faith in that Defendant owed a duty
to Plaintiff to “not unlawfully impose additional terms of the
loan upon her and to not unlawfully damage Plaintiff's credit
rating,” and that “Defendant breached its duty by imposing
additional terms and damaging Plaintiff's credit rating.” (fa 79
43-44). Defendant filed the instant Motion on April 9, 2012.
(Docket Entry No. 10]. Plaintiff has filed no opposition to
Defendant's Motion.

iH. LEGAL STANDARD

*2 For a complaint to survive dismissal, it “must contain
sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’ ” F“Usherofi v igbal.
556 U.S. 662, 129 5.Ct. 1937, 1949, 173 L-Ed.2d 868 (2009)

(citing PI pgett Atl Corp. v. Twombly. 550 U.S. 544, 570,
127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). The plausibility
standard is not akin to a“ * probability requirement,’ but it asks
for more than a sheer possibility that a defendant has acted
unlawfully”; mere consistency with liability is insufficient. fd
In evaluating the sufficiency of a complaint, the Court must
accept all well-pleaded factual allegations in the complaint as
true and draw all reasonable inferences in favor of the non-

moving party. See paitips vy. County of Allegheny, 515
F.3d 224, 234 (3d Cir.2008), But, “the tenet that a court must
accept as true all of the allegations contained in a complaint
is inapplicable to legal conclusions. Threadbare recitals of the
elements of a cause of action, supported by mere conclusory

statements, do not suffice.” gba 129 S.Ct. at 1949, The
burden of proof for showing that no claim has been stated is

on the moving party, Fitedges v U.S, 404 F.3d 744, 750 (3d

Cir.2005) (citing P Kehr Packages, inc. v. Fidelcor, Inc. 926
F.2d 1406, 1409 (3d Cir.1991)). During a Court's threshold
review, “[t]he issue is not whether a plaintiff will ultimately
prevail but whether the claimant is entitled to offer evidence to

support the claims.” F4,, re Rockefeller Cr Props., Inc, 311

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F.3d 198, 215 (3d Cir.2002). In accordance with the adoption
of the new /gbal standard by the Supreme Court, the Third
Circuit held that the “no set of facts” standard set forth in

PR onley v Gibson. 355 U.S. 41, 45-46 (1957) no longer

applied to federal complaints. Pp, owler v. UPMC Shadyside
$78 F.3d 203, 210 (3d Cir-2009) District courts now reviewing
complaints for failure te state a claim must engage in a two-
part analysis:

First, the factual and legal elements
of a claim should be separated...
Second, a District Court must then
determine whether the facts alleged in
the complaint are sufficient to show
that the plaintiff has a “plausible claim
for relief.”

fd (citations omitted).

Fraud claims must meet a heightened pleading standard under

Pl red. R.Cive. 9(b), which requires that “in ail averments
of fraud or mistake, the circumstances constituting fraud or

mistake shall be stated with particularity.” P Fed R.Civ.P
Sib}. “To satisfy this heightened standard, the plaintiff must
plead or allege the date, time and place of the alleged
fraud or otherwise inject precision or some measure of

substantiation into a fraud allegation,” Pe ederico v. Home

Depot, 507 F.3d 188, 200 (3d Cir.2007) (citing Pe um v,
Bank of Am., 361 F.3d 217, 224 (3d Cir.2004)). The plaintiff
must also allege “who made the purported misrepresentations
and what specific misrepresentations and what specific
misrepresentations were made.” Jd With this framework in
mind, the Court turns now to Defendant's motion.

HI. DISCUSSION

A, Plaintiffs FDCPA Claims

*3 Plaintiff asserts a minimum of eight FDCPA violations
against Defendant on the basis of telephone calts and written
communications made by Defendant relating to her mortgage.
(Compl., 94] 28-29). Defendant first argues that the FDCPA
does not apply to it since Bank of America is not a “debt
collector” under the FDCPA and was not acting as a debt
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collector with respect to Plaintiff's mortgage. (Def. Br,, at |).
Defendant does not deny that it is the servicer of Piaintiff's
mortgage, but claims that it is exempt from the FDCPA except
under limited circumstances not alleged by Plaintiff. (/d. at 2).

Under the FDCPA, the term “debt collector” means “any
person who uses any instrumentality of interstate commerce
or the mails in any business the principal purpose of which
is the collection of any debts, or who regularly collects or
attempts to collect, directly or indirectly, debts owed or due

or asserted to be owed or due another.” Fa; U.S.C. §
1692a(6). That term does not include: “any person collecting
or attempting to collect any debt owed or due another to the
extent such activity (i) is incidental to a bona fide fiduciary
obligation or a bona fide escrow arrangement; (ii) concerns a
debt which was originated by such person; [or] (ili) concerns
a debt which was not in default at the time it was obtained

by such person...” Fis U.S.C. § 1692a(6)(F). Therefore,
the servicers of residential mortgages have been consistently
found by courts not to be “debt collectors” under the FDCPA
if the loan in question is not in default when acquired by the
servicer. See Stolba v. Hells Fargo & Co,, 2011 U.S. Dist.
LEXIS 87355, at * 5-6 (D.N.J. Aug. 8, 2011); Savilec v.
Chase Home Fin., LLC, 2010 U.S. Dist. LEXIS 12894, at * 3
{D.N.J. Dec. 7, 2010); Dawson v Dovenmuehle Mortg., inc.,
2002 U.S. Dist. LEXIS 5688, at * 5 (E.D.Pa. Apr. 3, 2002).
The law is thus “well settled ... that ... mortgage servicing
companies are not debi collectors and are statutorily exempt
from liability under the FDCPA.” Stofba, 2011 U.S. Dist.

LEXIS 872355, at * 6 (quoting PE sco v. Wells Fargo Home
Mortg. inc., 326 F.Supp.2d 709, 718 (E.D.Va.2003}); Knabbe
v. Bank of Am,, N.A., 2007 U.S. Dist. LEXIS 72298 (D.Neb.
Sept. 26, 2007) (“Creditors who collect in their own name
are not ‘debt collectors.’ ... Bank of America is not a ‘debt
collector’ and thus has no FDCPA liability.”}; James v. Hels
Fargo Bank, NA Corp., 2011 U.S. Dist. LEXIS 53077, at * 3
(D.Utah May 17, 2011). The Complaint alleges that Plaintiff
was not in default on her mortgage. (Compl, { 23). Therefore,
based on the limited facts alleged in Plaintiffs Complaint,
Bank of America is nota “debt collector” under FDCPA and is
exempt from liability under the facts stated, Plaintiffs FDCPA
claim is accordingly dismissed.

B. Plaintiffs FCRA Claim

Plaintiff claims that Defendant “falsely reported to various
credit reporting agencies that Plaintiff owed a debt and was
delinquent in paying that debt.” (Compl., 7 32). Plaintiff

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further asserts that she “disputed the debt with Defendant but
Defendant failed to remove or investigate the matter.” (/d.
9 34). Defendant argues that Plaintiffs FCRA claim must
fail since she only claims to have disputed the debt with
Defendant, and not that she notified any credit reporting
agencies about the dispute, thus failing to trigger any duty
on the part of Defendant to investigate the accuracy of said
reporting of Plaintiff's account information. (Def. Br., at 1-2).
Specifically, Defendant asserts that Plaintiff cannot maintain
a claim under the statute because: “(1} there is no private right

of action for alleged violations of 15 U.S.C. § 1681s—2(a),
and (2) Plaintiffhas failed to allege facts sufficient to maintain

aclaim for violation of 15 U.S.C. § 1681s—2(b).” (/d. at 6).
Finally, Defendant argues that any state law claims asserted
by Plaintiff relating to credit reporting are preempted by the

FCRA pursuant toFa 15 U.S.C. § 1681t(b)(1)(F). Gd. at 7).

*4 The FCRA imposes sanctions on “furnishers of
information” if they fail to fulfill the duties set forth under

Pas US.C. § 1681s—2(a) and Fp). Fcection 1681s
2(a) requires, infer alia, that entities that furnish data to
consumer reporting agencies provide accurate information,
that they correct and update information, and that they
provide notice of a dispute and of any closed or delinquent

accounts, Psection 168 1s—2(a{ L(A) specifically provides
that “[a] person shali not furnish any information relating to
a consumer to any consumer reporting agency if the person
knows or has reasonable cause to believe that the information

is inaccurate.” Fis U.S.C. § 168Is—2(a}(1)(A). Pursuant
to Fis U.S.C. §§ 1681s—2(c) and Fad), no private right

of action exists to establish civil liability under Fas 1681s—
2(a), including any regulations issued thereunder. Rather,

Fas 1684s-2(a) “shall be enforced exclusively as provided

under section 621 (15 U.S.C. § 1681s] by the Federal
agencies and officials and the State officials identified in

section 62] (1s U.S.C. § 168 1s].” SeeP 15 U.S.C. 1681s-
2(c Pla. Therefore, Plaintiff cannot base her FCRA claim

onF™15 U.S.C. § 1681s-2(a). See Po Huertas v. Galaxy Asset
Maemt,., 641 F.3d 28, 34 (3d Cir.2011); Edwards v. Equable
Ascent, FNCL, LLC, 2012 U.S. Dist. LEXIS 54112, at * 9
(D.N.J. Apr. 16, 2012).

However, district courts in the Third Circuit have held that
plaintiffs have a private right of action and may bring civil
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actions pursuant to Fis U.S.C. § 1681s-2(b)}. See Martinez
v Granite Stute Mgmt & Res., 2008 U.S. Dist. LEXIS 94995,

at* 5(D.N.J. Nov. 20, 2008) (citing P2xrajen skiv American
Honda Fin Corp., 557 F.Supp.2d 596, 608 (E.D.Pa.2008));
Bartley v. LVNV Funding, LLC, 2010 U.S. Dist. LEXIS
64037, at * 9(D.N.J. June 28, 2010), Henderson v. Equable
Ascent Fin, LLC, 2011 U.S. Dist LEXIS 127662, at * 8

(D.N.J. Nov. 4, 2011). Fasection 168 §s—2(b) establishes the
duties of furnishers of information upon their notice of a
dispute, and provides that:

(1) ... After receiving notice pursuant to section 611(a) (2)
[15 U.S.C. § 1678i(a)(2) ] of a dispute with regard to the
completeness or accuracy of any information provided by
a person to a consumer reporting agency, the person shall

(A) conduct an investigation with respect to the disputed
information;

(B) review all relevant information provided by the
consumer reporting agency pursuant to section 61 1(a)(2)
[15 U.S.C. § 1682i(a)(2) ];

(C) report the results of the investigation to the consumer
reporting agency;

(D) if the investigation finds that the information is
incomplete or inaccurate, report those results to all
other consumer reporting agencies to which the person
furnished the information and that compile and maintain
files on consumers on a nationwide basis; and

(E) if an item of information disputed by a consumer
is found to be inaccurate or incomplete or cannot
be verified after any reinvestigation under paragraph
(1), for purposes of reporting to a consumer reporting
agency only, as appropriate, based on the result of the
reinvestigation promptly—

*5 (i) modify that item of information;
(ii) delete that item of information: or

(iii) permanently block the reporting of that item of
information.

Fa 15 U.S.C. § 1681s—2(b}(1). In order to state a claim against
a furnisher of information under this provision, a plaintiff
must plead that she: “(1) sent notice of disputed information
to a consumer reporting agency, (2) the consumer reporting

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agency then notified the defendant furnisher of the dispute,
and (3} the furnisher failed to investigate and modify the
inaccurate information.” Henderson, 2011 U.S. Dist. LEXIS
127662, at * 8 (citing Martinez 2008 U.S. Dist. LEXIS
94995, at * 6); see also Ruffv. America's Servicing Co., 2008
U.S. Dist. LEXIS 33447, at * 4 (W.D.Pa. Apr. 28, 2008);
Schroeder v. Verizon Pa, inc., 2011 U.S. Dist. LEXIS 72416,
at * 19 (M.D. Pa. June 16, 2011; Cosmas ve daw Express
Centurion Bank, 2010 U.S. Dist. LEXIS 58780, at * 23=—23
(D.N.J. June 11, 2010). The furnisher's duty to investigate 1s
not triggered until it receives notice from the credit reporting
agency of the consumer's dispute. /d. at * 9; see alse Bartley,
2010 U.S. Dist. LEXTS 64037, at *8; Dimedia v. HSBC Bank.
2009 U.S. Dist. LEXIS $2238, at * 7(D.NJ. June 22, 2009)

(citing FA loung ve Equifax Credit Servs., inc., 294 F.3d 631,
639 (5 th Cir.2002)).

Plaintiff fails to articulate any facts showing that Defendant
breached the requirements of the FCRA with respect to a
duty to investigate a dispute since Plaintiff does not allege
that she sent notice of disputed information to a consumer
reporting agency so as to trigger said agency's notification
of Defendant and Defendant's duty to investigate and modify
the inaccurate information. Rather, Plaintiff only states that
Defendant falsely reported misinformation to various credit
reporting agencies and that “Plaintiff disputed the debt with
Defendant but Defendant failed to remove or investigate the
matter.” (Compl., J] 32, 34) (emphasis added). Accordingly,

Plaintiff fails to state and FCRA claim pursuant to ys
U.S.C, § 1681s—2(b), and that claim is thus dismissed.

C. Plaintiff's NICFA Claim

Plaintiff alleges that she “was induced to take out the subject
mortgage without being told that an escrow account would
be imposed upon her,” and that “Defendant misrepresented
the terms of the loan” to her. (Comol., ff] 39-40). Defendant
claims that Plaintiffs NJCFA claim should be dismissed
for failing to meet the heightened pleading standards of

FA Fed.R.Civ,P. 9(a) since the allegations are “devoid of any
factual content.” (Def. Br., at 1, 9). Specifically, Defendant
contends that Plaintiffs general allegation that Defendant
induced her to take out a mortgage without telling her
about the escrow account fails to state a claim because said
allegation gives no indication of the terms of the mortgage,
the manner in which and the point of time at which said
misrepresentations were made, or any resultant damages
from said misrepresentations. (/d@ at 2-3, 9-10). Further,
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Plaintiff does not allege that Defendant was her lender, so
the allegation concerning Defendant's inducement of Plaintiff
to sign the mortgage cannot be credited as an allegation
supporting any wrongful conduct by Defendant. {Id at 3, 9).

*6 The elements of a cause of action under the NJCFA are:
“(1) unlawful conduct by the defendant; (2) an ascertainable
loss by the plaintiff; and (3) a causal relationship between the
unlawful conduct and the loss.” Prof? Cleaning & Innovative
Bikdg. Servs. v. Kennedy Funding, Inc. 245 Fed. Appx. 161,

165 (3d Cir.2007) (citing Fx ‘ox v Sears Roebuck & Co., 138
N.J. 2, 24, 647 A.2d 454 (1994)) (other citations omitted). The
NJCFA defines an “unlawful practice” broadly as:

The act, use or employment by
any person of any unconscionable
commercial practice, deception, fraud,
false pretense, misrepresentation,
or the knowing, concealment,
suppression, or omission of any
material fact with intent that
others rely upon such conceaiment,
suppression or omission, in connection
with the sale or advertisement of any
merchandise or real estate, or with
the subsequent performance of such
person as aforesaid, whether or not
any person has in fact been misled,
deceived or damaged thereby....

PINIS.A. § 56:8-2. “Courts have emphasized that like
most remedial legislation, the [NJCFA] should be construed

liberally in favor of consumers.” Facey. 138 N.J. at 15, 647
A.2d 454. “Proof of any one of those acts or omissions or
of a violation of a regulation will be sufficient to establish

unlawful conduct under the Act.” Para, at 19.

As cited infra, Pred. R.Cive. 9(b) requires that a plaintiff,
in alleging fraud, “must state with particularity the

circumstances constituting fraud.” FE Fed.R.Civ.P. 9(b)}. To
satisfy this heightened pleading standard, “the plaintiff must
plead or allege the date, time and place of the alleged fraud or
otherwise inject precision or some measure of substantiation

into a fraud allegation.” Pl rederico, 507 F.3d at 200.

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This includes allegations regarding “who made the purported
misrepresentations and what specific misrepresentations were
made.” /d The heightened standard was “designed to place
defendants on notice of the precise misconduct that is alleged
and to protect the reputation of defendants by safeguarding
them against spurious allegations of immoral and fraudulent

conduct.” Pigy Lilly & Co. v. Roussel Corp,, 23 F.Supp.2d
460,491 (D.N.J.1998).

Plaintiff's Complaint fails to state with specificity any facts
regarding Defendant's unlawful conduct, ascertainable loss
suffered by the Plaintiff, or a causal relationship between said
uniawful conduct and Plaintiff's loss. First, since Defendant
is the servicer of Plaintiff s mortgage rather than the lender,
facts alleged pertaining specifically to inducing Plaintiff to
sign the mortgage cannot, without more, be deemed unlawful

conduct by Defendant as servicer. ' Second, Plaintiff states no
specific facts pertaining to “an ascertainable loss of moneys or
property, real or personal” as a result of the allegedly unlawful

conduct. Faxus.a § 56:8-19. An “ascertainable loss” is “a
loss that is ‘quantifiable or measurable’; it is not ‘hypothetical

or illusory.’ ” Pazee v Carter—Reed Co, LLC, 203 N_J. 496,

522 (2010) (quoting F"Thiedemann v Mercedes-Benz USA,
LEC, 183 NI. 234, 248, 872 A.2d 783 (2005); see also,
Reddick vo Allstate NJ ins. Co., 2014 U.S. Dist. LEXIS
145595 (D.N.F. Dec. 16, 2011), Examples of an ascertainable
loss include an out-of-pocket loss. fd. Plaintiff's Complaint
fails to state a quantifiable or measurable loss regarding her
NICFA claim. Even ifthe Court were to construe the damages
alleged resulting from any purported denial of credit, such
allegations based on the limited facts alleged are hypothetical!

and are preempted pursuant to - 18 US.C. § 1681t(b)C!)
(F) of the FCRA. See, generatly, Cosmas . Am. Express
Centurion Bank, 757 FSupp.2d 489 (D.N.J.2010). Since
Plaintiff fails to state with specificity any unlawful conduct
by Defendant or any ascertainable loss resulting from such
conduct, it need not consider whether Plaintiff sufficiently
States a causal relationship between the two, and dismisses

Plaintiff's NJCFA claim as insufficiently pled. :

D. Plaintiff's Negligence and Breach of Duty of Good Faith
Claims

*7 Plaintiff alleges that “Defendant owed a duty to
(her] to not unlawfully impose additional terms of the
loan upon her and to not unlawfully damage Plaintiffs
credit rating.” (Compl., 4 43). Plaintiff further alleges that
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“Defendant breached its duty by imposing additional terms
and damaging Plaintiffs credit rating,” and that “Plaintiff
has suffered and continues to suffer actual damages as
a result of the foregoing acts and practices, including
damages associated with, amongst other things, humiliation,
atiger, anxiety, emotional distress, fear, frustration, and
embarrassment caused by Defendants.” (/d at F§ 44-45).
Defendant argues that Plaintiff's negligence and breach of the
duty of good faith claim fails because Plaintiff alleges no facts
showing that Defendant owed Plaintiff any non-contractual
duty or that, if there were such a duty, the overly general
statements that Defendant imposed additional loan terms and
damaged her credit rating would be sufficient to state a breach
of said duty. (Defs. Br., at 1, 3, 10-11). Finally, Defendant
states that, to the extent that Plaintiffs claim is predicated
upon credit reporting, it is preempted by the FCRA. (/d at
10-12).

I, Plaintiff's Negligence Claim
As stated infra, Plaintiff's common law claims pertaining to

Defendant's credit reporting are preempted pursuant to Fa 1s
U.S.C. § 1681(b)(I KF). Accordingly, the Court will only
consider Plaintiff's claims regarding Defendant's purported
unlawful imposition of additional terms to the terms of
Piaintiffs loan. To state a claim for negligence, a plaintiff
must state facts “showing a duty of care on the part of the
defendant, a breach of that duty, proximate cause and actual
damages.” Polzo v. County of Essex, 196 NJ. 569, 584, 960
A.2d 375 (2008). “There can be no actionable negligence if
defendant or the act violated no duty to the injured plaintiff.
The question of the existence of duty is one of law and
not one of fact.” Ryans v Lowell, 197 N.J.Super. 266, 274,
484 A.2d 1253 (App.Div.1984). New Jersey law does not
impose an affirmative duty on a bank to disclose information
that they may have concerning the financial viability of

the transactions the borrowers are about to enter. Pa, ‘nited
Jersey Bank v. Kensey, 306 N.J.Super, 540, 553-557, 704
A.2d 38 (App.Div.1997); see alse, Chrysier Credit Corp. v.
First Nat'l Bank & Trust Co, of Washington, 746 F.2d 200,
207 (3d Cir.1984). The relationship between Plaintiff and
Defendant was one between a debtor and a creditor, dealing
with one another at arms’ length, and New Jersey courts have
denied negligence claims in such contexts, holding that “it
would be anomalous to require a [bank] to act as a fiduciary
for interests on the opposite side of the negotiating table
because their respective positions are essentially adversarial.”

Fxensey, 306 NJ.Super. at $53, 704 A.2d 38. Further,

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“imposing a duty on a bank that would obligated it to
be responsible for its depositor's financial affairs would be

impractical as a matter of public policy.” Paciobe Motor
Car v First Fidelity, 273 N.J.Super. 388, 394, 641 A.2d 1136
(Law Div.1993); see also Donleavy v. Casey, 2006 N_J_Super.
Unpub. LEXIS 1397, at * 5-7 (App.Div. Dec. 26, 2006).

*8 In the alternative, Plaintiffs negligence claim against
Defendant servicer is also barred under the economic loss
doctrine since, “[uJnder New Jersey law, a tort remedy
does not arise from a contractual relationship unless the
breaching party owes an independent legal duty imposed

by law.” Fa sattiet v. GST Consultants, Inc... 170 N.J. 297,
316, 788 A.2d 268 (2002), Accordingly, “the mere failure to
fulfill obligations encompassed by the parties’ contract is not
actionable in tort.” Park v. Af & T Bank Corp., 2010 US. Dist.
LEXIS 24905, at * 19 (D.N.J. Mar. 16, 2010} (quoting Shinn
v. Champion Mortg. Co., 2010 U.S. Dist. LEXIS 9944, at *
12 (D.NJ. Feb. 5, 2010), Since the Complaint states no facts
under which Defendant owes Plaintiff a legal duty beyond its
obligations to Plaintiff under the parties’ contract, namely, the
Note and the Mortgage, Plaintiffs negligence claim is barred
by the economic loss doctrine.

2. Plaintiff's Breach of the Duty of Good Faith and Fair
Dealing Claim
Every contract contains an implied covenant of good faith

and fair dealing. Fl sons of Thunder, Inc. v. Borden, Inc., 148
N.J. 396, 420, 690 A.2d $75 (1997); Restatement (Second) of
Contracts, § 205. This implied covenant of good faith and fair
dealing requires that “neither party shall do anything which
will have the effect of destroying or injuring the right of the

other party to receive the fruits of the contract.” Fasons of
Thunder, 148 N.J. at 420, 690 A.2d 575 (citations omitted),
Plaintiffs Complaint fails to state facts supporting a denial
of the fruits of her contract with Defendant. The facts stated
regarding the terms of the contract in no way indicate that
the escrow requirements were not a part of said terms; rather,
Plaintiff only states facts alleging that Defendant did not
inform her of the terms of the contract prior to inducing her
to take out the subject mortgage. Again, since Defendant is
not the lender but is rather the servicer of the loan, such facts
are insufficient to support a claim for a breach of the duty
of good faith and fair dealing since it was the lender rather
than the servicer of the mortgage that induced Plaintiff to
take out the mortgage. Further, since Plaintiff fails to state
facts concerning any loss resulting from the purported breach,
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For the reasons set forth above, Defendant's Motion to
Dismiss is granted, and Plaintiff's Complaint is dismissed. An
appropriate Order accompanies this Opinion.

she also fails to state a claim on that ground. Accordingly,
Plaintiff's breach of the duty of good faith is dismissed.

iv CONCLUSION All Citations

Not Reported in F.Supp.2d, 2012 WL 1964507

Footnotes

1 Defendant also notes that Plaintiffs mortgage expressly provides that it would have an escrow account,
including provisions that Plaintiff was required to pay her lender funds to cover taxes, assessments and
required insurance. (Def. Br., at 9 n. 5).

section 1681t(b}(1)(F) likewise preempts Plaintiff's state law claims pertaining to negligence and breach

of the duty of good faith as they relate to credit reporting. See Pais U.S.C. § 1681t(b)(1}\(F). See Cosmas,
757 F.Supp.2d at 501 (holding that plaintiff's negligence claim was barred since Congressional intent as to
how the FCRA should affect furnishers and consumers supported the encompassing of both statutory and

common law claims within the Pag 1681t(b)(1}{F) preemption of state law claims).

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